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 1                  IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
 2
     BREAD FOR THE CITY,           ) CIVIL NO.:
 3                                 ) 23-1945-ACR
               Plaintiff,          )
 4        vs.                      )
                                   )
 5   DISTRICT OF COLUMBIA,         )
                                   ) November 27th, 2023
 6             Defendant.          ) Washington, D.C.
     ______________________________) 10:30 a.m.
 7
                    Transcript of Pre-motion Conference
 8                   Before the Honorable Ana C. Reyes
                       United States District Judge
 9
     APPEARANCES:
10
     For the Plaintiff:    Michael Krevans Perloff, Esquire
11                         Scott Michelman, Esquire
                           Ashika Verriest, Esquire
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25   Proceedings recorded by machine shorthand; transcript produced
     by computer-aided transcription



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 1                             P R O C E E D I N G S

 2                THE CLERK:    Your Honor, this is criminal -- I'm

 3   sorry.   This is civil action 23-1945.      Bread for the City

 4   versus District of Columbia.       Will the parties please come

 5   forward and identify themselves for the record.

 6                MR. PERLOFF:    Good morning, Your Honor.    My name is

 7   Michael Perloff.    I'm with the ACLU of D.C., here for the

 8   plaintiff Bread for the City.       With me today is my colleague

 9   Ashika Verriest, who is with the ACLU's criminal law reform

10   project, Scott Michelman with the ACLU D.C., and Steve Hollman

11   with the law firm of Sheppard Mullin.

12                THE COURT:    Where are your seven other lawyers?

13                MR. PERLOFF:    We're hopeful that they are listening

14   in, but we divide the work among us.

15                THE COURT:    All right.   Welcome, everyone.

16                MS. DISNEY:    Good morning, Your Honor, my name is

17   Pamela Disney for the Office of the Attorney General of the

18   District of Columbia, and I'm joined by my colleague Brendan

19   Heath.

20                THE COURT:    Ms. Disney, A for effort, but you're

21   stuck with me.    One quick question, so I got put on a jury two

22   weeks ago.

23                MS. DISNEY:    Yes, Your Honor.

24                THE COURT:    And your office was defense counsel.

25   Have you heard about this?




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 1               MS. DISNEY:    Yes, I did.

 2               THE COURT:    Why on earth did you all seat a judge on

 3   a jury?   Like, the plaintiffs or the defendants.        Like,

 4   literally everyone I say, oh, I was on a jury.         They are like,

 5   you mean, you got kicked from the jury.        And I was like, no

 6   they still had strikes left and they put a judge on the jury.

 7   Do you have any idea why that was?

 8               MS. DISNEY:    I cannot answer that, Your Honor.        It's

 9   a very good question, though.

10               THE COURT:    Okay.   Well, it was interesting.      Your

11   team did a fine job.

12               MS. DISNEY:    I'll pass that on.

13               THE COURT:    I know we ruled for the other side, but

14   I thought everyone did a side job.       There were some egregious

15   leading questions, but you know I wasn't the judge on the

16   case.    So, all right.

17               MR. CONTI:    Good morning, Your Honor, Anthony Conti

18   on behalf of the proposed intervenor, the D.C. Police UNION.

19               THE COURT:    Okay.   Sir, in the future, just everyone

20   really, I expect people to cooperate and get along on my

21   cases.    I expect you all to figure stuff out on your own,

22   which means that unless a scheduling dispute involves

23   somebody's mother dying, it should not come to my attention,

24   okay?

25               MR. CONTI:    Understood, Your Honor.




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 1             THE COURT:    And everyone, the tone of everyone's

 2   pleadings should be respectful and civil.        Okay?

 3             MR. CONTI:    Certainly, Your Honor.

 4             THE COURT:    All right.    Thank you.

 5             So we're here on your pre-motion conference for a

 6   motion to dismiss.    Ms. Disney, I have to tell you, I'm not

 7   sure you've got much of a motion, but obviously I'm going to

 8   let you make it.   I haven't made any decision yet, but can you

 9   give me sort of thoughts as to what you're thinking and what

10   I'm missing.

11             MS. DISNEY:    Sure, Your Honor.

12             Thank you, Your Honor.      And I'll be happy to answer

13   any questions to perhaps ease some of your concerns.

14             THE COURT:    Well, I guess I have one question, this

15   is for both sides.    And I'm sorry I haven't sort of dug into

16   the law on this yet, but is there a case on point that says,

17   from any jurisdiction, that says that the ADA would not cover

18   what they're alleging here in the sense of that basically what

19   they're saying is people with mental disabilities, as I

20   understand it, are being discriminated against in a way that

21   people with physical disabilities are not, because of the

22   response they're getting or rather not getting from D.C.

23             And I noticed that the plaintiffs cited two

24   instances in which the Justice Department has indicated that

25   calling out police as opposed to trained mental health




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 1   professionals was a violation of the ADA and that was -- dOJ

 2   found that in Minneapolis and Louisville, which is my home

 3   city, so I know it well.     But I didn't see that there were any

 4   sort of court decisions on that.      Can you help me out?

 5             MS. DISNEY:    Well, that's right, Your Honor.        You

 6   know, as far as we've found, and plaintiffs have not cited any

 7   decision that would hold -- well, the opposite as well -- that

 8   would hold that the discrepancy in service time, for example,

 9   and the amount of time it takes for an ambulance or mobile

10   crisis unit to respond to a emergency, or any other aspect of

11   the emergency response, there's been no holding that the ADA

12   would cover such a claim.

13             THE COURT:    There's just been no holding either way.

14   We're like on fresh grounds.

15             MS. DISNEY:    Fresh grounds.

16             THE COURT:    And are those Louisville and Minneapolis

17   cases, are they existent, are they ongoing, or were they not

18   filed, do you know?

19             MS. DISNEY:    They were -- reports I believe, they

20   were just reports and there was no court --

21             THE COURT:    There's no litigation.

22             MS. DISNEY:    Yes.   As far as I'm aware.      I'll let

23   plaintiffs correct me if that's wrong.

24             THE COURT:    Okay.   But as I understand their

25   complaint, and you can correct me if I'm wrong, they're not --




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 1   they're not saying what D.C. has to do as a policy matter in

 2   terms of responding to mental health issues.        They are saying

 3   that you respond differently to mental health issues than you

 4   do to other issues.      And the way you respond differently is

 5   discriminatory and therefore a violation of the ADA.          My

 6   understanding of your position is the ADA does not allow

 7   whoever to come in and say this is how you have to treat

 8   certain disabilities.     And I think everyone would agree with

 9   that.   But then they'll come back and say that's not what our

10   complaint says.   Our complaint says you're treating the

11   disabilities -- certain disabilities in one way, which is

12   effective, and mental disabilities in a different way that's

13   ineffective.   And if you had treated them the same you would

14   have effectiveness across the board.

15               MS. DISNEY:    My reading of plaintiff's complaint is

16   different.

17               THE COURT:    Okay.   Go ahead.

18               MS. DISNEY:    What they said is different as well.       I

19   mean, in their prayer for relief they specifically seek parity

20   between the physical health response and the mental health

21   response.    And the ADA is not about parity in this respect.

22   So I think it's important also to note that the services that

23   they're addressing, the point -- the thrust of their complaint

24   is that the services that the District uses to respond to

25   physical emergencies, and maybe safety concerns, for example,




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 1   are not the services that should be used to respond to mental

 2   health emergencies.       What they're seeking in essence is new

 3   services, or said another way, it could be seeking a different

 4   level of care for the services provided to individuals with

 5   mental health emergencies.

 6                THE COURT:    Well, they say that that's not the case.

 7   Different level of care they say is a negligence action.            I

 8   tend to agree with them.      I don't think they're bringing a

 9   negligence action.    They're saying if I have asthmatic --

10   diabetic crisis, you send out someone with an EMT who is

11   trained to do that, right.      You wouldn't send out the police

12   to deal with a diabetic crisis, right?       I mean, because that

13   would be ridiculous, because the police don't know how to deal

14   with a diabetic crisis.

15                And so what they're saying is that people with

16   physical disabilities are getting treated and getting services

17   that are specific to their disability and therefore are

18   effective.    And that mental disabilities, you are sending out

19   the police, who are equally untrained to deal with mental

20   disabilities as they would be with diabetic disabilities.           But

21   instead of sending out the people who could deal with the

22   mental disabilities, you're sending out untrained police.           And

23   that you would not, for example, use parity by sending out

24   police to everyone, because that would be silly and people

25   would die.    But you're doing it for mental health services in




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 1   a way that's discriminatory, because the discrimination is

 2   sending out effective -- or services that one can expect to be

 3   effective versus services that one knows would not be

 4   effective.

 5              MS. DISNEY:    So two points on that, Your Honor.

 6              THE COURT:    Sure.

 7              MS. DISNEY:    The first being that, going back to the

 8   ADA itself, what's at issue under Title II is access to

 9   particular government service.      And it's -- under the law it's

10   meaningful access to that service.       And so what plaintiffs

11   will struggle to do, because essentially they're trying to put

12   a square peg in a round hole here, is identify the service at

13   issue.

14              THE COURT:    The service at issue is there's a 911

15   call, and the person who comes is actually authorized or is

16   actually trained in how to address a 911 call.         So if I have a

17   heart attack and I call 911 and they send out a brain surgeon

18   who says I don't know how to deal with heart attacks and so

19   you die.   They would say that's bad, that's ineffective,

20   right, even though you had a neurosurgeon that would be

21   ineffective.

22              And what they're saying is, when I call 911 and I

23   say I'm having a heart attack they send out someone who's

24   trained to deal with heart attacks.       But if I have a mental

25   disability and, for example, I have suicidal ideation and I'm




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 1   threatening to kill myself and someone comes -- calls 911, you

 2   send out a police officer, who has no training whatsoever to

 3   deal with suicidal ideation.        And therefore that person could

 4   die because the police officer will not know how best to bring

 5   that person down.

 6                Let's say they're going through a manic or bipolar

 7   attack.   I'm seeing green men.       I don't have suicidal

 8   ideation, I have a mental disability.        I'm seeing things.      I'm

 9   seeing green men.    I think that they're attacking me or

10   they're going to kill my dog, and so I have a knife and I'm

11   trying to attack people.         And you bring out a police officer

12   who isn't trained with how to deal with people who are having

13   these mental sort of episodes.

14                MS. DISNEY:    Yeah, so --

15                THE COURT:    And they're not saying here's what you

16   have to provide, they're not saying you have to provide, you

17   know, people with Ph.D.s who have been doing this for at least

18   ten years.    They're saying you have to do something to make

19   sure that the people who come out are trained and not just

20   leave it up to the police who are untrained.

21                MS. DISNEY:    That argument, though, Your Honor, is

22   essentially questioning the adequacy of care, right.          It's

23   the --

24                THE COURT:    No.    No, it's not.

25                MS. DISNEY:    -- adequacy of services provided --




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 1              THE COURT:    It's saying that you have a system where

 2   you provide care that we can presume to be effective, whether

 3   it's not we can at least presume it to be effective because

 4   the people being sent out are trained in the area versus care

 5   for a different group which we can presume to be ineffective.

 6   Not because the police are bad police, not because they're not

 7   trying to do their best.     There's zero aspersions against the

 8   police here on my behalf.      But because they're just not

 9   trained in this area at all.

10              MS. DISNEY:    So, I would say, you know, I'll go back

11   to this and we'll also talk about some cases that are relevant

12   as well.   But the ADA requires meaningful access to a specific

13   service or benefit provided by the government.         Courts have

14   interpreted this and I could talk about some cases.

15              THE COURT:    Sure.

16              MS. DISNEY:    So courts have interpreted this to

17   understand that even if, for example, a benefit is provided --

18   is not provided to individuals with -- you know, let me just

19   talk about a case, how about --

20              THE COURT:    Okay.

21              MS. DISNEY:    -- let's talk about Rodriguez v. The

22   City of New York.

23              THE COURT:    Okay.    One second let me bring it up.

24              MS. DISNEY:    Sure.    This is 2nd Circuit.

25              THE COURT:    One second.    Okay.   What's the cite?




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 1               MS. DISNEY:    The citation for that is 197 F.3d 611,

 2   you can look at pages 618 to 619.       It's cited in our brief as

 3   well.

 4               THE COURT:    You want 6 what page?

 5               MS. DISNEY:    You can look at I think 618 to 619, but

 6   you could just take a look at the case generally I think will

 7   give you the gist.

 8               THE COURT:    Okay.   So this is a 2nd Circuit

 9   decision.

10               MS. DISNEY:    A 2nd Circuit decision.

11               THE COURT:    Okay.   Go ahead.

12               MS. DISNEY:    I think it's a nice comparator there,

13   because in that case what they were looking at is the --

14   there's a question of whether or not to provide this extra

15   safety monitoring service to mentally disabled individuals.

16   And the issue there was that the service was not provided to

17   individuals with physical disabilities.        And the argument was

18   essentially that the service was necessary for individuals

19   with mental disabilities to achieve the same health outcome,

20   right.

21               THE COURT:    Uh-huh.

22               MS. DISNEY:    To be able to stay in their home and

23   not be institutionalized or to remain safe in their home.            It

24   is a separate service, though.      And the Courts --

25               THE COURT:    This was a service that was provided to




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 1   people with physical disabilities?

 2               MS. DISNEY:    It was not provided to people with

 3   physical disabilities.     Sorry, I should have backed up.           The

 4   case involves services that are provided in the home.

 5               THE COURT:    Okay.

 6               MS. DISNEY:    In the home setting, medical services.

 7   And the argument there -- well, what the Court held there was

 8   that the ADA did not compel the state to provide such services

 9   to individuals with mental disabilities because it did not

10   already provide that service.      It was a new service.      And even

11   though the provision of that service would have helped

12   individuals with mental disabilities achieve the same outcome,

13   which is being able to remain in their home, if they had this

14   safety monitoring provision.      That part of it, that achieving

15   the same outcome was not an ADA claim.

16               THE COURT:    Okay.   But isn't Mr. Perloff about to

17   stand up and say to me, yes, Your Honor, that's exactly our

18   point.    It was a service that wasn't provided to anyone, so

19   therefore, New York wasn't require to provide it to some

20   people.   And he's going to say that's not our case.         Our case

21   is we have a service here that's being provided to the people

22   who have physical disabilities, which is the service -- the

23   people who respond are trained in the response.         And that

24   service, people who are trained in the response is not being

25   provided to people with mental disabilities.




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 1              MS. DISNEY:    But --

 2              THE COURT:    I mean, Mr. Perloff, is that what you

 3   were about to get up and tell me?       Just say yes.

 4              MR. PERLOFF:    Yes, Your Honor.

 5              THE COURT:    Thank you.

 6              MS. DISNEY:    That is two different programs, though.

 7   Two different services, two different benefits.

 8              THE COURT:    Okay.

 9              MS. DISNEY:    You know you're talking about FEMS

10   going out to help individuals with physical disabilities, for

11   example, and a totally different department, Department of

12   Behavioral Health is the one who would be at issue assisting

13   people with, according to plaintiffs --

14              THE COURT:    But that's their point, that the

15   department -- my guess is their point is the Department of

16   Behavioral Health is not involved, that it's the police

17   department that's involved.      Their whole point is they want

18   the department of behavioral health involved and that if

19   you're treating it like you treated people with the physical

20   disabilities, that they would be involved.

21              MS. DISNEY:    That's correct.     I agree that that

22   appears to be their point as well.       But under the law, the law

23   looks at the very particular service at issue.         It's not the

24   amorphous question of what's providing adequate care or what's

25   providing a proper level of care for individuals with mental




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 1   health disabilities.

 2                THE COURT:    Yeah, but you keep going back to

 3   negligence point, his is a discriminatory point.          I mean, the

 4   reason I'm pushing on this is so when you write your motion

 5   you know exactly what I'm focused on.        Which is that his point

 6   is not about individual service levels.        His point is not

 7   about what the ADA requires for one group or not for another

 8   point.   His point is -- their point is that there's

 9   discrimination in the way that services are being meted out to

10   people with physical disabilities as with respect to people

11   with mental disabilities.

12                So let's say, for example, that D.C. had a policy

13   that under the ADA everyone who has a physical disability and

14   calls and gets a 911 response automatically gets $1,000 to do

15   whatever they want with, you know, because we think that it's

16   expensive.    And people with mental disabilities get charged

17   $1,000 just for no reason, just because we think we want to

18   charge them $1,000.       And you would say that's purely

19   discriminatory, you're discriminating based on the type of

20   disability they have; right?

21                MS. DISNEY:    That would be a different case.

22                THE COURT:    See, I think he's going to say that's

23   the exact same case.

24                MS. DISNEY:    I understand he says that, but this

25   case -- that would involve the same program, that would




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 1   involve the same response.

 2              THE COURT:    So really we're at a question of what

 3   does the word service and program mean.

 4              MS. DISNEY:    Yes.

 5              THE COURT:    And that would be fact specific.

 6              MS. DISNEY:    That's the disagreement that I believe

 7   plaintiffs and the District have.

 8              THE COURT:    And that's a facts specific issue, one

 9   where one where I have to give him -- draw inferences in his

10   favor; right?

11              MS. DISNEY:    You do need to draw inferences in his

12   favor, but it's not fact specific, it's also legal.          I mean,

13   it's a question of law here.

14              THE COURT:    It's a question of what the services as

15   a matter of fact in D.C., and what the program is as a matter

16   of fact in D.C., right?     Once I figure out what service means

17   as a matter of law, I have to apply that to the facts.

18              MS. DISNEY:    Correct, of course, Your Honor.

19              THE COURT:    You're going to have a disagreement as

20   to the facts.   As a factual matter he's going to say it's the

21   same program, and I have to accept that on a motion to

22   dismiss.   And as a factual matter you're going to say they are

23   totally separate programs.

24              MS. DISNEY:    As a factual matter I will say it's

25   separate programs, but that's also -- if he were to say that




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 1   the same -- those programs are the same program, I -- that's a

 2   legal conclusion not factual conclusion.

 3               THE COURT:    I think that's a -- how is that a legal

 4   conclusion, that's factual conclusion?

 5               MS. DISNEY:    I will be happy to brief extensively

 6   all the case law related to this.

 7               THE COURT:    Okay.   Well, look, I'm going to let you

 8   brief it.   I have not made a decision.       I'm not going to make

 9   a decision until I see the case.       I don't want you to think

10   I've prejudged this.      But I do have a pre-sense of it.       And I

11   can you I think we're in the world of maybe you have a summary

12   judgment motion, but you probably don't have a very strong

13   motion to dismiss argument.       But now you know sort of where my

14   head is so you can move accordingly.

15               Mr. Perloff, do you want to say anything in terms of

16   what your view is on this, to help her with her brief?           I

17   don't mean that condescendingly.       I mean, like, one of the

18   reasons I do this is so people aren't just writing in the wind

19   and they know what I'm focused on.

20               MR. PERLOFF:    Your Honor, thank you.     We don't have

21   much to add to the discussion that Your Honor had with

22   opposing counsel.    Your understanding of our complaint is

23   exactly right.    We don't believe we're asking for new

24   services.   We're asking for an existing service to be provided

25   equally to people with mental health disabilities in the same




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 1   way it's provided to everyone else.

 2              THE COURT:    And is there any like -- what's the

 3   specific language in the ADA that says that people with

 4   physical disabilities have to be treated the same as people

 5   with mental disabilities, because your case is going to hinge

 6   on that; right?

 7              MR. PERLOFF:    Well, Your Honor, we actually don't

 8   view ourselves as comparing people with mental health

 9   disabilities and physical health disabilities.         We would say

10   we're comparing people with mental health disabilities to a

11   service that's relied on by everyone.        So the program we're

12   talking about here for mental health disabilities, the

13   emergency response services are predominantly used with mental

14   health disabilities.     The physical emergency response are used

15   by everyone.   So this is really a comparison between a program

16   that is people with mental health disabilities versus everyone

17   else.

18              To the extent Your Honor believes this case requires

19   a comparison between people with mental health disabilities

20   and people with physical health disabilities, I would refer

21   Your Honor to the Olmstead decision from the Supreme Court,

22   where the Court recognized that type of comparison as being

23   appropriate.

24              THE COURT:    Okay.   All right.    Any sort of key cases

25   that you rely on that she's going to want to look at while she




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 1   drafts her brief?

 2               MR. PERLOFF:   Your Honor, in addition to the cases

 3   that we cited in our brief, I would also refer opposing

 4   counsel to Rodde v. Bonta, which is a case from the 9th

 5   Circuit at 357 F.3d 988, 9th Circuit from 2004.         And in that

 6   case what essentially was at stake was a challenge to an

 7   effort by a county hospital to reduce or eliminate

 8   rehabilitation services predominantly relied on by people with

 9   disabilities.   And just like in this case, the Court defined

10   the benefit as -- the Court defined benefit there as

11   specialized medical expertise.      And it said basically, if we

12   allow this to move forward, if we allow this to happen, the

13   specialized medical expertise that's available to people with

14   disabilities will be lower than available to the general

15   population.   And we submit that our case is very similar in

16   terms of the theory that it advances.

17               The other point that I would make in response to the

18   government's discussion of this being some sort of separate

19   programs, I would also refer and emphasize the recent guidance

20   that was issued by the Department of Justice explaining how

21   the ADA operates in the context of emergency response

22   programs.   And there the --

23               THE COURT:   That's what you cited to or that's

24   something different than you cited to?

25               MR. PERLOFF:   We cite that in our complaint but not




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 1   in the letter brief.

 2               THE COURT:    Okay.   So Ms. Disney, you're going to

 3   want to take that up.

 4               MR. PERLOFF:    And in that document the Department of

 5   Justice makes quite clear that comparisons between a physical

 6   emergency response program and the mental emergency response

 7   programs are quite appropriate and, indeed, necessary to

 8   evaluate whether or not a emergency response program is

 9   achieving equality.      And that comparison is appropriate,

10   because when we look at the functions that are at issue

11   between emergency medical response and emergency physical

12   response, those functions are essentially the same.          They're

13   assessing the situation.     They're stabilizing the individual.

14   They're determining what care the person needs.         The purposes

15   are the same.

16               As a factual matter we see that the districts are

17   applying the same functions in both contexts.         They're

18   pursuing the same purposes in both contexts.         And, indeed, the

19   same entry points exist in both contexts, whether you have a

20   physical medical health emergency or a mental health medical

21   emergency, if you're calling 911, it's a 911 employee who is

22   decide who's going to respond.      We think that the cases we

23   cite in our letter brief, particularly the emergency

24   preparedness cases, support the argument this is a factual

25   question.   And when the complaint is construed with the




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 1   benefit of favorable inferences, plaintiffs have plausible

 2   alleged that as a factual matter these are one programs, they

 3   need to be analyzed as such.

 4               THE COURT:    Okay.   Thank you.

 5               Ms. Disney, any response?

 6               MS. DISNEY:    Just touching on the very last point

 7   that Mr. Perloff made regarding the emergency response cases

 8   that they cite in their letter brief.        I think those are a

 9   good read for the District as well.       The point of those is

10   that they both involve -- there's Brooklyn Independent --

11   Center for Independent Living as well as the Califor -- city

12   of Los Angeles.    Both of those involve kind of this

13   wide-ranging emergency response program.        You know, same

14   thing, it involves lots of different agencies, it involves

15   lots of different departments.      And what the Courts look at in

16   terms of the relevant comparison under the ADA is meaningful

17   access to particular services within those response systems.

18   And so --

19               THE COURT:    But is it -- and if you don't have an

20   answer to any of this, this is fine.       I'm not expecting

21   argument today, but just to help me if you can, and if you

22   want to reserve, totally fine.      Is it the District's position

23   that having police respond to mental health issues is

24   sufficient and adequate.

25               MS. DISNEY:    I -- I don't think we should answer




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 1   that today.

 2              THE COURT:    Okay.   All right.    I mean, obviously

 3   that's something you're going to need to answer throughout the

 4   course of the litigation, because his view is -- and I'm just

 5   accepting as true for now, not in general, his view is that

 6   these police officers aren't trained.        And so it creates more

 7   problems than it solves.     And, obviously, if we continue on a

 8   fact finding mission, which I have a feeling we're going to,

 9   you're going to want to have to address that.

10              MS. DISNEY:    Understood, Your Honor.      My hesitancy

11   to address that at the moment is based on the facts in the

12   complaint and requires a more fulsome analysis.         Just going

13   back to those couple of emergency response cases, I think

14   those are important cases to look at as well.         Because what

15   they show is how the ADA is properly applied in the emergency

16   response setting, as I mentioned involves multiple services,

17   multiple agencies.    But what it does is it looks at the

18   treatment that an individual with disabilities receives versus

19   an individual without disabilities receives, within a Applied

20   to a narrow service offered under the plan.         And also

21   crucially, under the same emergency, for example.

22              And so, if you look at that case, for example, it

23   could compare someone who has auditory difficulties with

24   someone who doesn't have auditory difficulties.         And

25   challenging the provision of services that provide alerts in




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 1   the case of an earthquake in California, for example.           And

 2   that's how the Court looks at the services.         They look at --

 3   they list out the specific services.       It could involve access

 4   to emergency shelters in the event of an evacuation, whether

 5   again, someone with disabilities and someone without

 6   disabilities has access to that same service, that sheltering

 7   service.

 8              THE COURT:    Okay.

 9              MS. DISNEY:    And I find that to be a good

10   comparison.

11              THE COURT:    All right.    Thank you.

12              Mr. Conti, do you want to add anything?

13              MR. CONTI:    If I could just briefly, Your Honor.         I

14   appreciate it.    I did just want to state for the Court that at

15   least my reading of the plaintiff's complaint is not that MPD

16   officers, sworn officers, are untrained to deal with these

17   mental health crises.     They are trained.     And my reading of

18   the complaint is that they contend that the training is

19   inadequate.

20              And I think that's important, because this court has

21   decided whether or not, on a motion to dismiss, a cause of

22   action under the ADA for inadequate training exists, and has

23   declined that relief.     That's the Sacchetti case.

24              THE COURT:    What's the cite?

25              MR. CONTI:    The cite is 181 F.Supp.3d 107.




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 1              THE COURT:    3d 107, one second, please.

 2              Okay.   This is a case involving arrest -- police

 3   arrest conduct by police officers.

 4              MR. CONTI:    That's correct.      And on page 130, that's

 5   where the Court discusses the failure to train component.

 6              THE COURT:    Okay.   All right.    Well, this is

 7   helpful.   I'm happy for you to talk about it, but Mr. Perloff,

 8   Ms. Disney, you're both going to want to address this.           I

 9   mean, it seems like just on a quick review, you're right, that

10   Judge Walton, who's a pretty smart person, far more

11   experienced than I am, declined a failure to train allegation

12   or claim, but did move forward on discovery with a failure to

13   accommodate claim.    And my guess is that what Mr. Perloff is

14   going to say to me is that he's not making a failure to train

15   allegation.   But I understand that's going to be an issue

16   between all of you or among all of you.

17              Why don't you stay up for a moment.        You and Mr.

18   Perloff you are working on what to do about your intervention,

19   where are you all?    You can both come up.

20              MR. PERLOFF:    Yes, Your Honor, my colleague

21   Ms. Verriest and I are working with Mr. Conti on this.           We had

22   a productive conversation a couple of weeks ago.          And we're

23   hopeful we can continue to talk and reach some sort of

24   agreement as to a way for the Union to participate in the case

25   that both sides find acceptable.




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 1              THE COURT:    So what's like the area of dispute?

 2              MR. PERLOFF:    We've talked -- we haven't talked

 3   about all areas so far.     The main areas we've talked about are

 4   discovery and settlement and working out ways of involvement

 5   that we feel are representative of both parties' interests.

 6              THE COURT:    Okay.   All right.    Well, you guys work

 7   it out.   I will need to approve it.      But it does seem to me

 8   that the police have an interest in the case.         I mean, I can't

 9   imagine I'm going to say they can't be involved in some way.

10   Now, whether they're involved as a party or amicus or whatnot,

11   I don't know, but you're going to have your say one way or the

12   other.

13              Okay.   Mr. Conti, and then just for you in general,

14   can you just explain to me a little bit about sort of -- and

15   if you don't want to because you're not prepared, that's

16   fine -- but I have to think the Union -- it's not obvious to

17   me the Union would side with the district here.         I mean, don't

18   you guys want to go police?      I mean, do you guys really want

19   to be responding to mental health emergencies?

20              MR. CONTI:    It's a good question, because I, you

21   know, without disclosing privileged communications, it's a

22   conversation I had with my client.       And I think what -- I

23   think what we want the Court to appreciate is first and

24   foremost we do believe that there are studies that exist that

25   show that providing a nonpolice response does not exacerbate




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 1   or escalate these situations anymore more so than a police

 2   response.      And so if we start from that premise, then the

 3   question becomes, are our officers more or less protected if

 4   they're not involved in the first response.

 5                 And my client's view is that we're less protected,

 6   not just from the standpoint of officer safety but public

 7   safety, because they have been called out as a second

 8   responder in situations.        And it is often more difficult to

 9   deal with under this pilot program that this city is

10   implementing, because there are more folks on the scene.                It's

11   more chaotic.      There are more individuals to protect and

12   you're coming into a situation that has been exacerbated, as

13   opposed to going out and being able to control it before it

14   is.     So there are serious implications that my client is

15   concerned with.

16                 But, of course, Your Honor, it goes to the issue of

17   training as well.       My client welcomes more training.        And my

18   client would love to not have to deal with situations that are

19   more social service situations.          But unfortunately, there are

20   real world implications.        And that's why they want those at

21   least to be considered in this litigation.

22                 THE COURT:    Okay.   Well, that's helpful.      And Mr.

23   Perloff if we could forward in discovery, I mean, obviously

24   those are important points that we're going to need to ferret

25   out.     Those are solid points that he just raised.          I don't




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 1   know if he's right about any of it, but I assume he's not

 2   totally wrong.    And so, he knows what he's talking about, so

 3   those are things that would be interesting to me.

 4                MR. PERLOFF:    We appreciate that, Your Honor.         We

 5   disagree on the facts.      And we have consulted experts in the

 6   course of developing the complaint we believe will support us

 7   on this issue, but we certainly recognize the importance of

 8   developing that factual issue.

 9                THE COURT:    Okay.   And what's this pilot program

10   that you just mentioned?      Ms. Disney, can you come up and tell

11   me what this pilot program is.

12                MS. DISNEY:    I think Mr. Conti is referring to the

13   access help line is my assumption and the CRTs, the crisis

14   response teams.    We could get into the facts more later.

15   There's a lot of information that's left out of the complaint

16   regarding the access help line and regarding services

17   offered --

18                THE COURT:    My question is more generally like, are

19   you guys trying to work this out?       If so, why are you in front

20   of me and not just trying to work it out amongst yourselves?

21                MS. DISNEY:    Are we trying to work it out in terms

22   of settlement?

23                THE COURT:    Yeah, I mean, I think --

24                MS. DISNEY:    Yeah, because Your Honor --

25                THE COURT:    Without putting you on the record, like,




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 1   I understand you have your defenses and your discovery and the

 2   whatevers.    But in the real world of let's be practical, do

 3   you all recognize that maybe services could be better and are

 4   you guys trying to sort of effectuate that?         And if so, are

 5   you working with -- I'm sure you're working with the police

 6   union.   Are you working with Mr. Perloff and his group to see

 7   if there's a way that you all and his experts, which I'm sure

 8   would be happy to help, can sort of come together on all of

 9   this.

10                MS. DISNEY:    Without, you know, all of the facts on

11   the table, the district is constantly working to enhance their

12   response to mental health crises and working to coordinate

13   among the agencies.       I, you know, it's public fact that the

14   district is a member of the Harvard Kennedy School Government

15   Performance Lab.

16                THE COURT:    Well, thank God it's not Yale, because

17   then I would be unimpressed, but you said Harvard so now my

18   interest is piqued.

19                MS. DISNEY:    Well, as long as -- it is definitely of

20   interest.    It's the alternative 911 emergency response

21   implementation cohort.      This is their second year doing it,

22   which is entirely focused on developing best practices,

23   overcoming a lot of the technological burdens that exist in

24   order to change the way that response works for 911 for mental

25   health emergencies, DBH is doing this.        I could go on and on




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 1   about the coordination --

 2                THE COURT:    Before you go on and on, Mr. Perloff,

 3   are you guys aware of this?        Are your experts working with

 4   them on any of this?

 5                MR. PERLOFF:    We're aware of what Ms. Disney is

 6   discussing, we're aware of its efforts, but we still have

 7   concerns about the efficacy of the pilot program.

 8                THE COURT:    Well, I know, but that's why I'm asking

 9   why don't your experts get together with their experts,

10   instead of having me, who knows nothing about any of this and

11   is the least capable or intelligent person to decide this, why

12   don't you have the experts try to work together while this is

13   ongoing, to see if you all can come to an agreement, which

14   seems like it would be better for everybody.

15                MR. PERLOFF:    We certainly welcome the opportunity

16   to --

17                THE COURT:    Okay.   Great.   Because I'm going to make

18   you do it.

19                So, Ms. Disney?

20                MS. DISNEY:    If I could say, we also are, you know,

21   open to the idea of discussions as well, we're always open to

22   discussions.    But before the Court in a motion to dismiss is

23   two very straight forward legal questions.

24                THE COURT:    Oh, yeah, I know that they're --

25                MS. DISNEY:    We would not be interested in




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 1   entertaining some sort of settlement discussions until that's

 2   resolved.

 3               THE COURT:   Okay.   Well, spoiler alert, you should

 4   entertain settlement discussions because the chances that this

 5   gets dropped on a motion to dismiss are not zero, because I

 6   haven't looked at your papers.      But based on what I've seen so

 7   far, they're not high.     And I'm not going to hold up this

 8   litigation on it.    So the next thing we're going to be

 9   discussing -- everyone can be seated.        Mr. Conti, thank you --

10   is a schedule, because I'm going to let things proceed while

11   we do the motion to dismiss briefing.

12               So what I want to do is set a trial date, assuming

13   that I allow discovery -- if I allow limited discovery to

14   start now, and you all brief the motion, and then I decide the

15   motion, how long until you guys can be ready for trial?              The

16   period from today until when I decide the motion should not be

17   taken into account is what I'm trying to say.         Pretend you

18   don't have a motion to dismiss pending, how much time do you

19   all feel like you need to be ready for trial?         And before you

20   give me an answer you should know the following, which I'm

21   sure you may have already heard, I do not move trial dates, at

22   all, end stop, zero.     So once we set a trial date, absent

23   extraordinary cause, the trial date does not get moved.

24               And let me explain to you what I mean by

25   extraordinary cause.     What I mean is aliens come down from




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 1   outer space and wipe all of your hard drives and steal all of

 2   your witnesses.    And you come to me and say we have no

 3   witnesses and no documents, we need to move the trial date.

 4   The first question I have is where is this all backed up?

 5   Because that's not going to be enough for me to move the trial

 6   date.   Are we clear?

 7              MR. PERLOFF:    Yes, Your Honor.

 8              THE COURT:    Great.   Okay.   When will you guys be

 9   ready for trial?

10              MR. PERLOFF:    Your Honor, our view is that

11   discovery -- we believe that about 14 months would be an

12   appropriate time period to set a trial date.         And I'll just

13   walk through our thought process there.        We think it will take

14   about nine months to get through discovery.         In part, there

15   are a lot of complicated issues, factual issues, some of which

16   Mr. Conti mentioned.     We think that it may take about three

17   months for there to be summary judgment briefing and a

18   decision on summary judgment.      And we were hoping for another

19   two months for trial preparation.       So that was our approach.

20   We welcome the opportunity to work with the District in

21   developing a time line.

22              THE COURT:    Ms. Disney.

23              MS. DISNEY:    Yes.    Your Honor, I'd first like to

24   note that we're fine setting a schedule now.         I believe that

25   we would really benefit from an opportunity to meet and confer




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 1   with plaintiffs regarding -- you know, go through the motions

 2   of doing the Rule 16 conference, Rule 26, so we could, you

 3   know, figure out more about the scope of discovery.          This is a

 4   sprawling case across four agencies.       And it's very difficult

 5   to say off the cuff what an appropriate schedule would look

 6   like.

 7               THE COURT:    Okay.    Well, you guys meet and confer

 8   and by the end of the week, I don't need the full Rule 26

 9   conference, but by the end of the week I want three trial

10   dates from you guys.

11               MS. DISNEY:    Understood.

12               THE COURT:    That if I pick any one of them you all

13   would be comfortable with.        You can just email it to my

14   chambers.   We will set the trial date.       And I don't mean a

15   trial date five years from now.       I mean 14 months sounds about

16   right to me.   Much less than that I imagine you would have

17   issues, much more than that I imagine he would have issues.

18   But you know, two, three, four months, I'm not going to like

19   go crazy about.    But we're not talking three or four years

20   here and we're not talking six months here.

21               All right.    So you guys figure out the trial date by

22   tend of the week.    And then you guys take whatever time you

23   need under Rule 26 with that trial date in mind in terms of

24   working back with all the deadlines.       All right?     Does that

25   make sense?




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 1                 MS. DISNEY:    Your Honor, in terms of timing, for

 2   when we would then do the --

 3                 THE COURT:    I want a trial date by the end of the

 4   week.     I do not care about any other date.

 5                 MS. DISNEY:    Understood.

 6                 THE COURT:    I could care less about the other dates.

 7   You all work out the other dates amongst yourselves.             I don't

 8   care.     I want a trial date set by the end of the week.           And if

 9   I don't have a trial dates from you by the end of the week I

10   will set one myself.        Okay?

11                 MS. DISNEY:    Thank you, Your Honor.

12                 MR. PERLOFF:    Your Honor, if I may, one suggestion

13   that we would like to bring forward in terms of making an

14   accurate time line and also expedite the process would be if

15   the District were able to answer the complaint --

16                 THE COURT:    They can't answer the complaint, I

17   haven't ruled on their motion yet.          They have no idea if I'm

18   going the grant some of it, or deny some of it, which I might

19   do.     I'm not going to make them answer a complaint before I

20   rule on motion to dismiss.          Having done this for 22 years, I

21   can tell you what their complaint is going to say.             It's going

22   to say on information and belief, or denied, or that's an

23   issue of law on which we take no position, or they're going to

24   admit that they reside in the district.           That's their answer

25   to your complaint.




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 1              Ms. Disney am I pretty much dead on that?         Say yes,

 2   because I am.

 3              MR. PERLOFF:    Thank you, Your Honor.

 4              THE COURT:    They're not going to admit to anything

 5   that's going to alleviate your burden on discoveries by any

 6   substantial amount.     And I'm going to give limited discovery

 7   here, not full discovery to start.

 8              Ms. Disney?

 9              MS. DISNEY:    That's just what I wanted to address.

10   Given all the issues, the need to discuss the scope of

11   discovery, the need to --

12              THE COURT:    Here's what I'm going to rule on right

13   now, I want their experts to start talking with your experts,

14   and to start talking with his experts.        And by experts I mean

15   either hired experts or the people who are involved in these

16   pilot programs.    And I want you all three in a room talking to

17   each other about the best way to proceed on this.          So that I

18   am not the one at the end of the day making this decision.

19   Because I will make a decision.       And I'm a pretty smart person

20   and I'll figure it out and I'll do the best that I can.              But I

21   think everyone, including your clients and the D.C. public,

22   and your clients and the D.C. agencies, and definitely his

23   clients, are going to be much happier if you all very

24   intelligent people, all committed to this cause, and who know

25   about it a lot more than I do figure out a way forward among




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 1   yourselves.   Okay.

 2               So, Mr. Perloff.

 3               MR. PERLOFF:    Yes, Your Honor.

 4               THE COURT:   What discovery would you need in order

 5   to start talking to them about the best way for them to

 6   develop their pilot program, which it seems like in good faith

 7   they're trying to do.      I take the government at its word that

 8   in good faith it's trying to figure out a better solution

 9   here.   So what I want is since you guys think you have a

10   better solution, for you all to talk to them in a way that's

11   meaningful.

12               And, Mr. Conti, if you have any ideas, feel free to

13   speak up.

14               MR. PERLOFF:    Your Honor, there are a few things

15   that come to mind immediately, but it would be helpful if I

16   could confer with my colleagues and client to discuss them

17   more.   Just to preview a few of our thoughts, one thing that

18   would be helpful is to better understand the office of unified

19   communications processees for deciding who responds to what

20   types of crises.    Another thing that would be very helpful

21   would be for us to examine some of the incident reports or

22   some sort of random sample of incident reports involving

23   behavioral health crises so we could bring those to our

24   experts and have them look at how those crises are handled,

25   how they're coded, and those sorts of information, so we begin




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 1   to evaluate how this system works.

 2                THE COURT:    Ms. Disney and Mr. Conti, who are

 3   your -- like, who are the people leading this effort on your

 4   behalf?   Like, if I were to say I want to speak to your

 5   experts who are trying to put together this pilot program or

 6   who have been working on it, who would those people be?              I

 7   don't need their names, but do you know in your head who those

 8   people are?

 9                MS. DISNEY:    There's a number of them.

10                THE COURT:    Okay.    Give me the top three.

11                MS. DISNEY:    From the Department of Behavioral

12   Health.

13                THE COURT:    There are four agencies; right?

14                MS. DISNEY:    There are four agencies at issue.

15                THE COURT:    Okay.    Here's what I want, within two

16   weeks I want plaintiff's experts to get on a phone call with

17   somebody or two people picked by the Union, and one person

18   picked by you all from each agency, and I want them all in a

19   room talking about what exactly happening and what ways they

20   can make it better, and what information his people need to

21   get it to go better, okay.         And then within three weeks I want

22   you all to provide me a status report which says here's what

23   the experts have decided and thought about in terms of limited

24   discovery.

25                And Mr. Perloff, I underscore the word limited,




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 1   limited -- so choose your battles here -- limited discovery

 2   that you all need for this working group that is going to be

 3   created to be able to do its job.       And if I need to get all

 4   these experts here in a room for us to talk all this through,

 5   I'm happy to do that.     But what I want is for you all to talk

 6   to each other and help each other.       Okay?

 7              MS. DISNEY:    Understood, Your Honor, I would, of

 8   course, request that all of this take place after the motion

 9   to dismiss decision.

10              THE COURT:    No, it's happening now.      Because we're

11   not -- this isn't getting kicked.

12              MS. DISNEY:    Okay.    Understood.

13              THE COURT:    Chances are this isn't getting kicked.

14   And even if it gets kicked, this is a worthwhile exercise.

15   And right now before it gets kicked I have jurisdiction.

16              MS. DISNEY:    Understood, Your Honor.

17              THE COURT:    Okay.

18              MR. PERLOFF:    And, Your Honor, we understood the

19   limited nature of the discovery you're authorizing, so we will

20   be mindful of that in our requests.

21              THE COURT:    Okay.

22              MS. DISNEY:    Just to clarify, so in three weeks we

23   will have a report you which will propose discovery.

24              THE COURT:    Yes.    Hopefully that -- after all the

25   relevant people have talked to each other and figured out a




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 1   plan forward and ways for you all to have a working group to

 2   continue to work together on this.

 3                MS. DISNEY:    Understood.

 4                THE COURT:    Within a week I want a trial date, by

 5   Friday I want three trial dates.        Again, if I don't get

 6   something by 5:00 p.m. on Friday I'm setting it myself.

 7                MS. DISNEY:    Understood, Your Honor.

 8                THE COURT:    It's going to be dead heat of August or

 9   right in the holiday period.      It's going to be unpleasant.

10   Okay.

11                MS. DISNEY:   Thank you.

12                THE COURT:    All right.   Thank you, everybody.        Oh

13   sorry, and you guys figure out a briefing schedule on the

14   motion to dismiss, whatever you guys want.

15                Mr. Perloff, whatever she wants on that she's going

16   to get.   So if she wants a month, she gets a month.         If she

17   wants you all to have two weeks, you get two weeks.          You've

18   got 11 people on this, you can do it quickly.         All right.

19   Thank you.

20                (The proceedings were concluded at 11:16 a.m.)

21
               I, Christine Asif, RPR, FCRR, do hereby certify that
22   the foregoing is a correct transcript from the stenographic
     record of proceedings in the above-entitled matter.
23
                          _________/s/______________
24                             Christine T. Asif
                           Official Court Reporter
25




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